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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GOLD’S GYM LICENSING LLC,
                                                   Case No. 19-cv-05744
               Plaintiff,
                                                   Judge Jorge L. Alonso
v.
                                                   Magistrate Judge Sunil R. Harjani
3D ORIGINAL DESIGN STORE STORE, et
al.,
               Defendants.

                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Gold’s Gym

Licensing LLC’s (“Gold’s Gym” or “Plaintiff”) hereby dismisses this action with prejudice as to

the following Defendants:

              Defendant Name                                          Line No.
     DREAMSKULL DREAMSKULL Store                                         7
               Easy Buy Online                                           9
            KYKU essentials Store                                        17
       Hat boutique & Accessories Store                                  84

Dated this 25th day of October 2019.        Respectfully submitted,


                                            /s/ Allyson M. Martin
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                                            Justin R. Gaudio
                                            Allyson M. Martin
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